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 8                      UNITED STATES DISTRICT COURT
 9                    CENTRAL DISTRICT OF CALIFORNIA
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     EPSON AMERICA, INC.,                     Case No. 8:23-cv-01735-CJC-DFM
12
                     Petitioner,
13                                            ORDER RE STIPULATED
     v.                                       BRIEFING SCHEDULE ON
14                                            EPSON’S PETITION TO VACATE
     KADAKIA INTERNATIONAL, INC.,             ARBITRATION AWARD
15
                     Respondent.              [filed concurrently with Stipulation
16                                            Concerning Briefing Schedule on Petition
                                              to Vacate Arbitration Award]
17
                                              Judge: Honorable Cormac J. Carney
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                         ORDER RE STIPULATED BRIEFING SCHEDULE
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